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     ~o 24SB       (Rev. 9/00) Judgment in a Criminal Case
                                                                                                                                    FILED
                   Sheet I

                                                                                                                             CLEf1K. lJ" ::I~jfil:~ CCJRT
                                              UNITED STATES DISTRICT COURT                                               SOUTHEfl     . RleT OF C;'LFORNIA
                                                                                                                         BY                              OEPUTY
                                                  SOUTHERN DISTRICT OF CALIFORNIA
                    UNITED STATES OF AMERICA                                       AMENDED JUDGMENT IN A CRIMINAL CASE
                                        v.                                         (For Offenses Committed On or After November I, 1987)

                   LUIS ENRIQUE VERDUGO-LUIT (5)                                   Case Number: 08CR3372-LAB
                              aka Siete
                                                                                   NICHOLAS F. REYES
                                                                                   Defendant's Attorney
     REGISTRATION NO. 09445298
     l?S1 Modification of Imposed Term of Imprisonment FRCP 35(b)(2)(A),(B)
     THE DEFENDANT:
     l?S1 pleaded guilty to count(s)          COUNT 4 OF THE INDICTMENT

     o     was found guilty on count(s)
           after a plea of not gUilty.
           Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s);
                                                                                                                                              Count
     Title & Section                         Nature of Offegse                                                                             Number(s)
21 USC 952, 960(a)(l), 960            Importation of Cocaine and Methamphetamine and Aiding and Abetting                                         4
(b)(1 )(B)(ii), 960(b)(1 )(H)
and 18 USC 2




               The defendant is sentenced as provided in pages 2 through _ _4_ _ of this judgment. The sentence is imposed pursuant
        to the Sentencing Reform Act of 1984.
    o The defendant has been found not gUilty on count(s)
    l?S1 Count(s) REMAINING COUNTS                                                is   0 arelZl dismissed on the motion ofthe United States.
    l?S1 Assessment: $100.00
    l?S1 No fine                                     o Property forfeited pursuant to order filed -----­ included herein.
              IT IS ORDERED that the defendant shall notifY the United States attorney for this district within 30 days of any change ofname, residence,
        or mailing address until all fmes, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
        defendant shall notify the court and United States Attorney of any material change in the defendant's economic circumstances.
                                                                                       February 20,2013




                                                                                    HON. LARRY ALAN BURNS
                                                                                    UNITED STATES DISTRICT JUDGE
      Case 3:08-cr-03372-LAB                        Document 301       Filed 02/25/13         PageID.954           Page 2 of 4

AO 245B     (Rev. 9/00) Judgment in Criminal Case
            Sheet 2   Imprisonment

                                                                                            Judgment - Page    2     of       4
DEFENDANT: LUIS ENRIQUE VERDUGO-LUn (5)
CASE NUMBER: 08CR3372-LAB
                                                            IMPRISONMENT
          The defendant is hereby committed to the custody ofthe United States Bureau of Prisons to be imprisoned for a term of
          51 MONTHS, which is Time-Served.



   D Sentence imposed pursuant to Title 8 USC Section 1326(b).
   D The court makes the following recommendations to the Bureau of Prisons:



    o The defendant is remanded to the custody of the United States Marshal.
    D The defendant shall surrender to the United States Marshal for this district:
            Oat                                     Da.m.    Dp.m.    on
                as notified by the United States Marshal.

    o The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
           o    befure ____________________________________________________

           o notified the United States Marshal.
                as           by

           o notified by the Probation or Pretrial Services Office.
                as



                                                               RETURN
 I have executed this judgment as follows:

          Defendant delivered on                                                to

 at _ _ _ _ _ _ _ _ _ _ _ _ _ , with a certified copy of this judgment.


                                                                                           UNITED STATES MARSHAL


                                                                     By ________~~~~~~~~~~------------
                                                                                       DEPUTY UNITED STATES MARSHAL
         Case 3:08-cr-03372-LAB                        Document 301         Filed 02/25/13           PageID.955            Page 3 of 4

AO 24SD      (R.ev. 12103) Judgment in a Criminal Caac for R.evocations
             Sheet 3 - Supervised Releaw
                                                                                                        Judgment-Page .-..3- of _ _4_____
DEFENDANT: LUIS ENRIQUE VERDUGO-LUn (5)
CASE NUMBER: 08CR3371-LAB                                                                       •
                                                             SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:
5 YEARS

         The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release from
the custody of the Bureau ofPnsons.
The defendant shall not commit another federal, state or local crime.
For offenses committed 011 or after September 13, 1994:
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within IS days ofrelease from imprisonment and at least two periodic drug tests
thereafter as determined by the court. Testing requirements will not exceed submission of more than ...i- drug tests per month during
the term of supervision, unless otherwise ordered by court.
o      The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
       future substance abuse. (Check, ifapplicable.)
181 The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.
181 The defendant shall cooperate in the collection of DNA as directed by the probation officer pursuant to 18 USC 3583(d).
o The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works,
       or is a student, as directed by the probation officer. (Check, if applicable.)
o      The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
          If this judgment imposes a fine or restitution obligation, it is a condition of supervised release that the defendant pay any such fme
or restitution that remains unpaid at the commencement of the term of supervised release in accordance with the Schedule of Payments set
forth in this judgment.
         The defendant must comply with the standard conditions that have been adopted by this court. The defendant shall also comply with
any special conditions imposed.

                                         STANDARD CONDITIONS OF SUPERVISION
  l)    the defendant shall not leave the judieial distriet without the permission of the court or probation officer;
  2)    the defendant shall report to the probation officer and shan submit a truthful and complete written report within the first five days of
        each month;
  3)     the defendant shan answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
  4)     the defendant shall support his or her dependents and meet other family responsibilities;
  5)     the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
         acceptable reasons;
  6)     the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  7)     the defendant shall reftain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
         controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
  8)     the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9)     the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of
         a felony, unless granted permission to do so by the probation officer;
 10)     the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confIscation of any
         contraband observed in plain view of the probation officer;
 II)     the defendant shall notifY the probation officer within seventy-two hours ofbeing arrested or questioned by a law enforcement officer;
 12)     the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
         permission of the court; and
 13)     as directed by the probation officer, the defendant shall notifY third parties of risks that may be occasioned by the defendant's criminal
         record or personal history or characteristics and shall permit the probation officer to make such notifications and to confum the
         defendant's compliance with such notification requirement.
                                                                                                                                08CR3372-LAB
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       AO 24SB    (Rev. 9/00) Judgment in a Criminal Case
                   Sheet 4 - Special Conditions
                                                                                                       Judgment-Page - - i - of _...;:.4_ _
       DEFENDANT: LUIS ENRlQUE VERDUGO-LUTT (5)
       CASE NUMBER: 08CR3372-LAB
                                                                                                  •

                                              SPECIAL CONDITIONS OF SUPERVISION
D Submit person, residence, office or vehicle to a search, conducted by a United States Probation Officer at a reasonable time and in a
    reasonable manner. based upon reasonable suspicion of contraband or evidence of a violation ofa condition of release; failure to submit to a
    search may be grounds for revocation; the defendant shall wam any other residents that the premises may be subject to searches pursuant to
    this condition.
D If deported. excluded, or allowed to voluntarily return to country of origin, not reenter the United States illegally and report to the probation
    officer with 24 hours of any reentry to the United States; supervision waived upon deportation. exclusion or voluntary departure.
~ The defendant shall violate no laws, federal. state and local, minor traffic excepted.
D Not associate with undocumented aliens or alien smugglers.
~ Not reenter the United States illegally.
D Not enter the Republic ofMexico without written permission ofthe Court or probation officer.
D Report all vehicles owned or operated, or in which you have an interest, to the probation officer.
D Not possess any narcotic drug or controlled substance without a lawful medical prescription.
D Not associate with known users of, smugglers of, or dealers in narcotics. controlled substances, or dangerous drugs in any form.
D Participate in a program of mental health treatment as directed by the probation officer. take all medications as prescribed by a
    psychiatrist/physician. and not discontinue any medication without permission. The Court authorizes the release ofthe presentence report
    and available psychological evaluations to the mental health provider. as approved by the probation officer. The defendant may be required
    to contribute to the costs of services rendered in an amount to be determined by the probation officer. based on the defendant's ability to pay.

D Take no medication containing a controlled substance without valid medical prescription. and provide proof of prescription to the probation
    officer. ifdirected.
D Participate in a mental health treatment program as directed by the probation office.
D Provide complete disclosure ofpersonal and business financial records to the probation officer as requested.
D Be prohibited from opening checking accounts or incurring new credit charges or opening additional lines of credit without approval of the
    probation officer.
D Seek and maintain full time employment and/or schooling or a combination ofboth.
D Resolve all outstanding warrants within                    days.
D Complete         hours ofcommunity service in a program approved by the probation officer within
D Reside in a Residential Reentry Center (RRC) as directed by the probation officer for a period of
D Reside in a Residential Reentry Center (RRC) as directed by the Bureau of Prisons for a period of
    commencing upon release from imprisonment.
D Remain in your place of residence for a period of                            ,except while working at verifiable employment, attending religious
     services or undergoing medical treatment.
D Not engage in any form oftelemarketing. as defined in 18 USC 2325, without the written permission ofthe probation officer.
D Comply with the conditions of the Home Confinement Program for a period of                         months and remain at your residence
     except for activities or employment as approved by the court or probation officer. Wear an electronic monitoring device and follow
     procedures specified by the probation officer. Pay the total cost ofelectronic monitoring services, or a portion if deemed appropriate by the
     probation officer.
D Participate in a program of drug or alcohol abuse treatment, including urinalysis testing and counseling, as directed by the probation officer.
     The defendant may be required to contribute to the costs of services rendered in an amount to be determined by the probation officer, based
     on the defendant's ability to pay.

                                                                                                                                   08CR3372-LAB
